                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

IN RE:                                          )     3:16-CV-253           3:16-CV-393
                                                )     3:16-CV-262           3:16-CV-395
  Post-Conviction Guideline Challenges          )     3:16-CV-267           3:16-CV-567
  Impacted By Beckles v. United States          )     3:16-CV-268           3:16-CV-665
                                                )     3:16-CV-284           3:16-CV-676
                                                )     3:16-CV-346           3:16-CV-706
                                                )     3:16-CV-348           3:16-CV-713
                                                )     3:16-CV-362           3:16-CV-715
                                                )     3:16-CV-366           3:17-CV-38
                                                )     3:16-CV-368           3:17-CV-56


                                           ORDER

         Each of the foregoing cases contain post-conviction challenges to either a career

offender designation or base offense level enhancement in light of Johnson v. United States,

135 S. Ct. 2551 (2015). On March 6, 2016, the Supreme Court held that the United States

Sentencing Guidelines are “not amendable to vagueness challenges.” Beckles v. United

States, No. 15-8544, 2017 WL 855781, at *7 (U.S. March 6, 2017). Because the Johnson

decision does not undermine sentences based on Guideline enhancements, the Court believes

summary denial of the above petitions with prejudice might be appropriate.

         To the extent that the parties disagree, the Court affords the following notice: the

parties should file any motion that they want the Court to consider in conjunction with, or

prior to, ruling on these petitions on or before April 1, 2017. The deadline for responses is

April 15, 2017. Absent such a motion, the Court may summarily dismiss the above cases.

         IT IS SO ORDERED.


                                    s/ Thomas A. Varlan
                                    CHIEF UNITED STATES DISTRICT JUDGE



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